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EXHIBIT C
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Moustakis, Philip

From: Trendon <tshavers@buscog.com>
Sent: Friday, August 30, 2013 1:44 PM
To: Moustakis, Philip

Subject: Re: Accounting

Philip,

I don't know how I'd be able to get records for every transaction that happened for the last two years,
considering I have no access to Dwolla, Paypal or my bank statements for the past accounts. To subpoena them
all would cost money (which I don't have) and I don't even know how to do it. I truly believe this kind of
detailed accounting is exhaustive and most likely duplicate information that the commission and court already
have.

My wife doesn't work, see rarely receives child support from the kids birth father, which he's behind by more
than $80,000.

Trendon

On Fri, Aug 30, 2013 at 12:26 PM, Moustakis, Philip <MOUSTAKISP@sec.gov> wrote:
Mr. Shavers: .

The Court ordered accounting requires you provide, among other things, an accounting of all assets or income received
by you and/or Bitcoin Savings and Trust ("BTCST") and transferred from you and/or BTCST, from August 1, 2011 to the
date of the accounting, describing the details of those transfers, as well as the details of your and BTCST's liabilities.
Again, | refer you to the text of the Court's Order freezing your assets and requiring you to provide the accounting for
the exact requirements. Additionally, as we stated in Court yesterday, we would need to know the income and assets,
and expenses and liabilities of your wife and dependents before we have a conversation about a possible carve-out, if
any, or any release of funds.

Best regards,
Philip Moustakis

From: Trendon [mailto:tshavers@buscog.com]

Sent: Friday, August 30, 2013 12:05 PM Eastern Standard Time
To: Moustakis, Philip

‘Subject: Re: Accounting

Philip,

No one is holding assets for me, the payments and disbursements are already included in your initial complaint
supporting documents.

I have nothing else to give you. Those are my assets and my expenses.
Please advise,

Trendon
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On Fri, Aug 30, 2013 at 10:59 AM, Moustakis, Philip <MOUSTAKISP@sec.gov> wrote:
Mr. Shavers:

This accounting is grossly inadequate and incomplete. We would ask that you review the Court's Order freezing your
assets and detailing the requirements of a proper accoun ting, and tha that it you meet your Cc Court-o1 ordered obligations witho without

further delay.

Best regards,
Philip Moustakis

From: Trendon [mailto: tshavers@buscoa. com]

Sent: Friday, August 30, 2013 11:33 AM Eastern Standard Time
To: Moustakis, Philip

Subject: Accounting

Philip,

I've realized that the SEC already has the record of payments or disbursements made by me. So the only
information missing are assets and expenses which are included in the attached document.

Trendon
